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                                                     UNITED STATES BANKRUPTCY COURT
                                                       EASTERN DISTRICT OF VIRGINIA

                                                                       CHAPTER 13 PLAN
                                                                     AND RELATED MOTIONS
Name of Debtor(s):                   John Edward Small, Jr.                                             Case No: 10-37875

This plan, dated           November 12, 2010                 , is:

                                 the first Chapter 13 plan filed in this case.
                                 a modified Plan, which replaces the
                                   confirmed or unconfirmed Plan dated .

                                 Date and Time of Modified Plan Confirming Hearing:

                                 Place of Modified Plan Confirmation Hearing:


                       The Plan provisions modified by this filing are:


                       Creditors affected by this modification are:


NOTICE: YOUR RIGHTS WILL BE AFFECTED. You should read these papers carefully. If you
oppose any provision of this Plan, or if you oppose any included motions to (i) value collateral, (ii) avoid
liens, or (iii) assume or reject unexpired leases or executory contracts, you MUST file a timely written
objection.
This Plan may be confirmed and become binding, and the included motions in paragraphs 3, 6, and 7 to
value collateral, avoid liens, and assume or reject unexpired leases or executory contracts may be
granted, without further notice or hearing unless a written objection is filed not later than seven (7) days
prior to the date set for the confirmation hearing and the objecting party appears at the confirmation
hearing. If no objections are timely filed, a confirmation hearing will NOT be held.
The debtor(s)' schedules list assets and liabilities as follows:

          Total Assets: $140,040.00
          Total Non-Priority Unsecured Debt: $102,209.26
          Total Priority Debt: $0.00
          Total Secured Debt: $128,260.00




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1.         Funding of Plan. The debtor(s) propose to pay the trustee the sum of $250.00 Monthly for 48 months. Other payments to
           the Trustee are as follows: NONE . The total amount to be paid into the plan is $ 12,000.00 .

2.         Priority Creditors. The Trustee shall pay allowed priority claims in full unless the creditor agrees otherwise.

           A.           Administrative Claims under 11 U.S.C. § 1326.

                        1.           The Trustee will be paid the percentage fee fixed under 28 U.S.C. § 586(e), not to exceed 10%, of all sums
                                     disbursed except for funds returned to the debtor(s).
                        2.           Debtor(s)' attorney will be paid $ 3,000.00 balance due of the total fee of $ 3,000.00 concurrently
                                     with or prior to the payments to remaining creditors.

           B.           Claims under 11 U.S.C. §507.
                        The following priority creditors will be paid by deferred cash payments pro rata with other priority creditors or in
                        monthly installments as below, except that allowed claims pursuant to 11 U.S.C. § 507(a)(1) will be paid prior to
                        other priority creditors but concurrently with administrative claims above:

Creditor                                          Type of Priority                                               Estimated Claim       Payment and Term
-NONE-


3.         Secured Creditors: Motions to Value Collateral ("Cramdown"), Collateral being Surrendered, Adequate Protection
           Payments, and Payment of certain Secured Claims.

           A.           Motions to Value Collateral (other than claims protected from "cramdown" by 11 U.S.C. § 1322(b)(2) or by
                        the final paragraph of 11 U.S.C. § 1325(a)). Unless a written objection is timely filed with the Court, the
                        Court may grant the debtor(s)' motion to value collateral as set forth herein.

           This section deals with valuation of certain claims secured by real and/or personal property, other than claims protected from
           "cramdown" by 11 U.S.C. § 1322(b)(2) [real estate which is debtor(s)' principal residence] or by the final paragraph of 11
           U.S.C. § 1325(a) [motor vehicles purchased within 910 days or any other thing of value purchased within 1 year before filing
           bankruptcy], in which the replacement value is asserted to be less than the amount owing on the debt. Such debts will be
           treated as secured claims only to the extent of the replacement value of the collateral. That value will be paid with
           interest as provided in sub-section D of this section. You must refer to section 3(D) below to determine the interest
           rate, monthly payment and estimated term of repayment of any "crammed down" loan. The deficiency balance owed
           on such a loan will be treated as an unsecured claim to be paid only to the extent provided in section 4 of the Plan.
           The following secured claims are to be "crammed down" to the following values:

       Creditor                                        Collateral                                Purchase Date      Est Debt Bal.    Replacement Value
-NONE-

           B.           Real or Personal Property to be Surrendered.

           Upon confirmation of the Plan, or before, the debtor(s) will surrender his/her/their interest in the collateral securing the claims
           of the following creditors in satisfaction of the secured portion of such creditors' allowed claims. To the extent that the
           collateral does not satisfy the claim, any timely filed deficiency claim to which the creditor is entitled may be paid as a
           non-priority unsecured claim. Confirmation of the Plan shall terminate the automatic stay as to the interest of the debtor(s)
           and the estate in the collateral.

Creditor                                                  Collateral Description                                   Estimated Value    Estimated Total Claim
-NONE-




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           C.           Adequate Protection Payments.

           The debtor(s) propose to make adequate protection payments required by 11 U.S.C. § 1326(a) or otherwise upon claims
           secured by personal property, until the commencement of payments provided for in sections 3(D) and/or 6(B) of the Plan, as
           follows:

                                                                                                                  Adeq. Protection
Creditor                                                  Collateral Description                                  Monthly Payment                To Be Paid By
-NONE-
           Any adequate protection payment upon an unexpired lease of personal property assumed by the debtor(s) pursuant to section
           6(B) of the Plan shall be made by the debtor(s) as required by 11 U.S.C. § 1326(a)(1)(B) (payments coming due after the
           order for relief).

           D.           Payment of Secured Claims on Property Being Retained (except only those loans provided for in section 5 of
                        the Plan):

           This section deals with payment of debts secured by real and/or personal property [including short term obligations,
           judgments, tax liens and other secured debts]. After confirmation of the Plan, the Trustee will pay to the holder of each
           allowed secured claim, which will be either the balance owed on the indebtedness or, where applicable, the collateral's
           replacement value as specified in sub-section A of this section, whichever is less, with interest at the rate provided below, the
           monthly payment specified below until the amount of the secured claim has been paid in full. Upon confirmation of the
           Plan, the valuation and interest rate shown below will be binding unless a timely written objection to confirmation is
           filed with and sustained by the Court.

                                                                                        Approx. Bal. of Debt or     Interest
       Creditor                                  Collateral                            "Crammed Down" Value          Rate      Monthly Paymt & Est. Term**
-NONE-


           E.           Other Debts.

           Debts which are (i) mortgage loans secured by real estate which is the debtor(s)' primary residence, or (ii) other long term
           obligations, whether secured or unsecured, to be continued upon the existing contract terms with any existing default in
           payments to be cured pursuant to 11 U.S.C. § 1322(b)(5), are provided for in section 5 of the Plan.

4.         Unsecured Claims.

           A.           Not separately classified. Allowed non-priority unsecured claims shall be paid pro rata from any distribution
                        remaining after disbursement to allowed secured and priority claims. Estimated distribution is approximately 3
                        %. The dividend percentage may vary depending on actual claims filed. If this case were liquidated under Chapter
                        7, the debtor(s) estimate that unsecured creditors would receive a dividend of approximately 0 %.

           B.           Separately classified unsecured claims.

Creditor                                                          Basis for Classification                                                    Treatment
-NONE-




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5.         Mortgage Loans Secured by Real Property Constituting the Debtor(s)' Primary Residence; Other Long Term
           Payment Obligations, whether secured or unsecured, to be continued upon existing contract terms; Curing of any
           existing default under 11 U.S.C. § 1322(b)(5).

           A.           Debtor(s) to make regular contract payments; arrears, if any, to be paid by Trustee. The creditors listed below
                        will be paid by the debtor(s) pursuant to the contract without modification, except that arrearages, if any, will be paid
                        by the Trustee either pro rata with other secured claims or on a fixed monthly basis as indicated below, without
                        interest unless an interest rate is designated below for interest to be paid on the arrearage claim and such interest is
                        provided for in the loan agreement.

                                                                                                  Regular                Arrearage                     Monthly
                                                                                                 Contract    Estimated    Interest    Estimated       Arrearage
Creditor                               Collateral                                                Payment     Arrearage     Rate      Cure Period       Payment
Chase Home Finance                     Location: 2408 Bainbridge                                     0.00     4,609.00     6.5%      24 months           Prorata
                                       Street, Richmond VA 23225
                                       (based on comparative market
                                       analysis)

           B.           Trustee to make contract payments and cure arrears, if any. The Trustee shall pay the creditors listed below the
                        regular contract monthly payments that come due during the period of this Plan, and pre-petition arrearages on such
                        debts shall be cured by the Trustee either pro rata with other secured claims or with monthly payments as set forth
                        below.

                                                                                                  Regular                                              Monthly
                                                                                                 Contract     Estimated Interest     Term for         Arrearage
Creditor                               Collateral                                                Payment      Arrearage Rate         Arrearage         Payment
-NONE-

           C.           Restructured Mortgage Loans to be paid fully during term of Plan. Any mortgage loan against real estate
                        constituting the debtor(s)' principal residence upon which the last scheduled contract payment is due before the final
                        payment under the Plan is due shall be paid by the Trustee during the term of the Plan as permitted by 11 U.S.C. §
                        1322(c)(2) with interest at the rate specified below as follows:

                                                                                                  Interest     Estimated
       Creditor                                       Collateral                                   Rate         Claim         Monthly Paymt& Est. Term**
-NONE-


6.         Unexpired Leases and Executory Contracts. The debtor(s) move for assumption or rejection of the executory contracts and
           leases listed below.

           A.           Executory contracts and unexpired leases to be rejected. The debtor(s) reject the following executory contracts.

Creditor                                                    Type of Contract
-NONE-

           B.           Executory contracts and unexpired leases to be assumed. The debtor(s) assume the following executory
                        contracts. The debtor agrees to abide by all terms of the agreement. The Trustee will pay the pre-petition
                        arrearages, if any, through payments made pro rata with other priority claims or on a fixed monthly basis as indicated
                        below.

                                                                                                                                 Monthly
                                                                                                                                 Payment             Estimated
Creditor                                     Type of Contract                                                Arrearage         for Arrears          Cure Period
-NONE-




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7.          Liens Which Debtor(s) Seek to Avoid.

            A.           The debtor(s) move to avoid liens pursuant to 11 U.S.C. § 522(f). The debtor(s) move to avoid the following
                         judicial liens and non-possessory, non-purchase money liens that impair the debtor(s)' exemptions. Unless a written
                         objection is timely filed with the Court, the Court may grant the debtor(s)' motion and cancel the creditor's
                         lien. If an objection is filed, the Court will hear evidence and rule on the motion at the confirmation hearing.

Creditor                                      Collateral                                        Exemption Amount                         Value of Collateral


            B.           Avoidance of security interests or liens on grounds other than 11 U.S.C. § 522(f). The debtor(s) have filed or
                         will file and serve separate pleadings to avoid the following liens or security interests. The creditor should review
                         the notice or summons accompanying such pleadings as to the requirements for opposing such relief. The listing
                         here is for information purposes only.

Creditor                                       Type of Lien                          Description of Collateral                 Basis for Avoidance
Century 21-PHH Mortgage                        equity line                           2408 Bainbridge Street, Richmond, VA      wholly unsecured, 11 USC 506

8.          Treatment and Payment of Claims.

            •            All creditors must timely file a proof of claim to receive payment from the Trustee.
            •            If a claim is scheduled as unsecured and the creditor files a claim alleging the claim is secured but does not timely
                         object to confirmation of the Plan, the creditor may be treated as unsecured for purposes of distribution under the
                         Plan. This paragraph does not limit the right of the creditor to enforce its lien, to the extent not avoided or provided
                         for in this case, after the debtor(s) receive a discharge.
            •            If a claim is listed in the plan as secured and the creditor files a proof of claim alleging the claim is unsecured, the
                         creditor will be treated as unsecured for purposes of distribution under the Plan.
            •            The Trustee may adjust the monthly disbursement amount as needed to pay an allowed secured claim in full.

9.          Vesting of Property of the Estate. Property of the estate shall revest in the debtor(s) upon confirmation of the Plan.
            Notwithstanding such vesting, the debtor(s) may not sell, refinance, encumber real property or enter into a mortgage loan
            modification without approval of the Court after notice to the Trustee, any creditor who has filed a request for notice and
            other creditors to the extent required by the Local Rules of this Court.

10.         Incurrence of indebtedness. The debtor(s) shall not voluntarily incur additional indebtedness exceeding the cumulative total
            of $5,000 principal amount during the term of this Plan, either unsecured or secured against personal property, except upon
            approval of the Court after notice to the Trustee, any creditor who has filed a request for notice, and other creditors to the
            extent required by the Local Rules of this Court.

11.         Other provisions of this plan:



Signatures:


Dated:           November 12, 2010


/s/ John Edward Small, Jr.                                                                                 /s/ Keith L. Phillips
John Edward Small, Jr.                                                                                     Keith L. Phillips 18596
Debtor                                                                                                     Debtor's Attorney


Exhibits:                Copy of Debtor(s)' Budget (Schedules I and J);
                         Matrix of Parties Served with Plan



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                                                                               Certificate of Service

         I certify that on           November 18, 2010                , I mailed a copy of the foregoing to the creditors and parties in interest on the
attached Service List.


                                                               /s/ Keith L. Phillips
                                                               Keith L. Phillips 18596
                                                               Signature

                                                               311 South Boulevard
                                                               Richmond, VA 23220-5705
                                                               Address

                                                               (804) 358-9400
                                                               Telephone No.



Ver. 09/17/09 [effective 12/01/09]




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B6I (Official Form 6I) (12/07)

 In re    John Edward Small, Jr.                                                                        Case No.        10-37875
                                                                         Debtor(s)

                           SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled "Spouse" must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is
filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income
calculated on this form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.
Debtor's Marital Status:                                                  DEPENDENTS OF DEBTOR AND SPOUSE
                                        RELATIONSHIP(S):                                             AGE(S):
      Single                                 None.

Employment:                                           DEBTOR                                                       SPOUSE
Occupation                          Salesman
Name of Employer                    M. Hohner, Inc.
How long employed                   16 mths
Address of Employer                 1000 Technology Park Drive
                                    Glen Allen, VA 23059
INCOME: (Estimate of average or projected monthly income at time case filed)                                   DEBTOR                     SPOUSE
1. Monthly gross wages, salary, and commissions (Prorate if not paid monthly)                            $       3,735.33          $           0.00
2. Estimate monthly overtime                                                                             $           0.00          $           0.00

3. SUBTOTAL                                                                                              $         3,735.33        $            0.00


4. LESS PAYROLL DEDUCTIONS
     a. Payroll taxes and social security                                                                $             608.83      $            0.00
     b. Insurance                                                                                        $              60.67      $            0.00
     c. Union dues                                                                                       $               0.00      $            0.00
     d. Other (Specify):                                                                                 $               0.00      $            0.00
                                                                                                         $               0.00      $            0.00

5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                        $             669.50      $            0.00

6. TOTAL NET MONTHLY TAKE HOME PAY                                                                       $         3,065.83        $            0.00

7. Regular income from operation of business or profession or farm (Attach detailed statement)           $               0.00      $            0.00
8. Income from real property                                                                             $               0.00      $            0.00
9. Interest and dividends                                                                                $               0.00      $            0.00
10. Alimony, maintenance or support payments payable to the debtor for the debtor's use or that of
      dependents listed above                                                                            $               0.00      $            0.00
11. Social security or government assistance
(Specify):                                                                                               $               0.00      $            0.00
                                                                                                         $               0.00      $            0.00
12. Pension or retirement income                                                                         $               0.00      $            0.00
13. Other monthly income
(Specify):           Musician                                                                            $              50.00      $            0.00
                                                                                                         $               0.00      $            0.00

14. SUBTOTAL OF LINES 7 THROUGH 13                                                                       $              50.00      $            0.00

15. AVERAGE MONTHLY INCOME (Add amounts shown on lines 6 and 14)                                         $         3,115.83        $            0.00

16. COMBINED AVERAGE MONTHLY INCOME: (Combine column totals from line 15)                                          $              3,115.83
                                                                                (Report also on Summary of Schedules and, if applicable, on
                                                                                Statistical Summary of Certain Liabilities and Related Data)
 17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
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B6J (Official Form 6J) (12/07)

 In re    John Edward Small, Jr.                                                              Case No.    10-37875
                                                                  Debtor(s)

         SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
     Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor's family at time case
filed. Prorate any payments made bi-weekly, quarterly, semi-annually, or annually to show monthly rate. The average monthly
expenses calculated on this form may differ from the deductions from income allowed on Form 22A or 22C.

    Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of
expenditures labeled "Spouse."
1. Rent or home mortgage payment (include lot rented for mobile home)                                       $                 1,053.00
 a. Are real estate taxes included?                            Yes X              No
 b. Is property insurance included?                            Yes X              No
2. Utilities:      a. Electricity and heating fuel                                                          $                   115.00
                   b. Water and sewer                                                                       $                    94.00
                   c. Telephone                                                                             $                    55.00
                   d. Other See Detailed Expense Attachment                                                 $                   146.00
3. Home maintenance (repairs and upkeep)                                                                    $                   100.00
4. Food                                                                                                     $                   500.00
5. Clothing                                                                                                 $                    50.00
6. Laundry and dry cleaning                                                                                 $                    25.00
7. Medical and dental expenses                                                                              $                    25.00
8. Transportation (not including car payments)                                                              $                   450.00
9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                         $                    50.00
10. Charitable contributions                                                                                $                     0.00
11. Insurance (not deducted from wages or included in home mortgage payments)
                   a. Homeowner's or renter's                                                               $                     0.00
                   b. Life                                                                                  $                     0.00
                   c. Health                                                                                $                    60.00
                   d. Auto                                                                                  $                    85.00
                   e. Other                                                                                 $                     0.00
12. Taxes (not deducted from wages or included in home mortgage payments)
                 (Specify) personal property taxes                                                           $                   20.00
13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the
plan)
                   a. Auto                                                                                  $                     0.00
                   b. Other                                                                                 $                     0.00
                   c. Other                                                                                 $                     0.00
14. Alimony, maintenance, and support paid to others                                                        $                     0.00
15. Payments for support of additional dependents not living at your home                                   $                     0.00
16. Regular expenses from operation of business, profession, or farm (attach detailed statement)            $                     0.00
17. Other Miscellaneous and pet expenses                                                                    $                    35.00
    Other                                                                                                   $                     0.00

18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and,                    $                 2,863.00
if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)
19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year
following the filing of this document:

20. STATEMENT OF MONTHLY NET INCOME
a. Average monthly income from Line 15 of Schedule I                                                        $                 3,115.83
b. Average monthly expenses from Line 18 above                                                              $                 2,863.00
c. Monthly net income (a. minus b.)                                                                         $                   252.83
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B6J (Official Form 6J) (12/07)
 In re    John Edward Small, Jr.                                           Case No.   10-37875
                                                       Debtor(s)

                   SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
                                           Detailed Expense Attachment
Other Utility Expenditures:
Internet                                                                              $                36.00
Business Cell                                                                         $               110.00
Total Other Utility Expenditures                                                      $               146.00
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                        American Express
                        P.O. Box 650448
                        Dallas, TX 75265-0448


                        Bank of America
                        P.O. Box 15019
                        Wilmington, DE 19886-5019


                        Century 21 - PHH Mortgage
                        2001 Bishops Gate Blvd
                        Mount Laurel, NJ 08054


                        Chase
                        c/o Zwicker & Assoc.
                        401 Professional Dr., St. 150
                        Gaithersburg, MD 20879


                        Chase Bank
                        Cardmember Service
                        P.O. Box 15153
                        Wilmington, DE 19886-5153


                        Chase Home Finance
                        PO Box 24696
                        Columbus, OH 43224


                        Citibank
                        PO Box 630919
                        Irving, TX 75063


                        Citibank (C48743)
                        c/o Margolis, Pritzker
                        110 West Road, St. 222
                        Towson, MD 21204


                        Discover Card
                        P.O. Box 71084
                        Charlotte, NC 28272-1084


                        Internal Revenue Service
                        P.O. Box 21126
                        Philadelphia, PA 19114-0326
